Uri Vaughan and Fred Portie filed a motion to correct the decree in this case on the ground that it "leaves out Section 3, T. 15 S., R. 14 E." They ask that the description be amended so as to include Section 3, without the necessity for a rehearing, "since the court has left out said Section 3, as a mere typographical error".
The consolidated cases were dealt with by the district court and by this court as a petitory action, with La Plaq Realty, Inc., in the position as plaintiff and Vaughan and Portie in the position of defendants.
La Plaq Realty, Inc., in the description of the property in its suit for possession, did not include Section 3. It is a very small fractional section, its area being approximately only six acres. In its answer to the possessory action brought by Vaughan and Portie La Plaq Realty, Inc., did not include Section 3 in its description of the property. The trial judge in his reasons for judgment described the lands to which La Plaq Realty, Inc., claimed a better title, and omitted Section 3. The redemption deed to Claude H. Smith, dated June 21, 1934, which was assigned to Vaughan and Portie and offered by them in evidence, and which the judge in his reasons for judgment held could not be "collaterally *Page 875 
attacked," and which was held to be "positive proof that the tax lien and title acquired by the State in 1921 * * * had been extinguished," described the property without including Section 3. All of the claims of La Plaq Realty, Inc., described the property without including Section 3. In fact, all of the deeds emanating from Becker omit Section 3.
As La Plaq Realty, Inc., did not claim title to Section 3 we did not have occasion to pass upon the title to that section. We merely dismissed the suit of La Plaq Realty, Inc., and confirmed the title of Vaughan and Portie to the land claimed by La Plaq Realty, Inc.
The motion to correct the decree is denied.